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                           UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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10    LANCE WILLIAMS,                               Case No. CV 20-10304-PA (KK)
11                              Petitioner,
12                        v.                        ORDER ACCEPTING FINDINGS
                                                    AND RECOMMENDATION OF
13    R. FARLEY,                                    UNITED STATES MAGISTRATE
                                                    JUDGE
14                              Respondent.
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17         Pursuant to 28 U.S.C. § 636, the Court has reviewed the First Amended
18   Petition for a Writ of Habeas Corpus, the records on file, and the Report and
19   Recommendation of the United States Magistrate Judge. The Court has engaged in de
20   novo review of those portions of the Report to which Petitioner has objected. The
21   Court accepts the findings and recommendation of the Magistrate Judge.
22         IT IS THEREFORE ORDERED that Judgment be entered (1) denying the
23   First Amended Petition for a Writ of Habeas Corpus; and (2) dismissing this action
24   with prejudice.
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26   Dated: September 25, 2021
                                              PERCY ANDERSON
27                                            United States District Judge
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